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                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

IN RE:                                           )
                                                 )
CHRISTOPHER ALLAN PENLEY                         )    CASE NUMBER: 16-09372-JMC-7
                                                 )    CHAPTER 7
                       Debtor.                   )

                AGREED ENTRY ON MOTION FOR RELIEF FROM STAY

        COMES NOW Christopher Allan Penley, and U.S. Bank National Association (hereinafter

referred to as "U.S. Bank National Association"), Creditor, in the above-captioned Chapter 7 case

and stipulate to the following:

        1.      The Debtor became delinquent on their post-petition mortgage payments to U.S.

Bank National Association and U.S. Bank National Association filed a Motion for Relief from Stay

and for Abandonment of Real Estate on the real estate located at 18034 Cristin Way, Noblesville,

IN 46062.

        2.      On January 17, 2017, the Trustee filed an Objection to the Motion for Relief from

Stay.

        3.      On January 24, 2017, the Trustee filed a Report of Possible Assets and Notice of

Abandonment. The real estate located at 18034 Cristin Way, Noblesville, IN 46062 was listed as a

possible asset of the bankruptcy estate.

        4.      On March 26, 2017, the Trustee filed an Application to Employ F.C. Tucker

Company as Co-Real Estate Broker to sell the property located at 18034 Cristin Way, Noblesville,

IN 46062.
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        5.      U.S. Bank National Association and the Chapter 7 Trustee agree that the Trustee

shall have sixty (60) days from the date the agreed entry is approved to complete the sale of the

property located at 18034 Cristin Way, Noblesville, IN 46062.

        6.      The Trustee will hereby withdraw his objection to U.S. Bank's Motion for Relief

from Stay and to Abandon Real Estate, and the Trustee agrees to the abandonment after sixty (60)

days, and the stay terminated allowing U.S. Bank National Association to praecipe for its

foreclosure sheriff sale so long as said sale is more than sixty (60) days from this Order.



EXAMINED AND APPROVED BY:
Gregory K. Silver

/s/ Gregory K. Silver
Chapter 7 Trustee


EXAMINED AND APPROVED BY:

Doyle & Foutty, P.C.


/s/ Alan M. McEwan
Attorneys for U.S. Bank National Association




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